I dissent because I believe the law does not authorize issuance of a writ of prohibition in this instance.
In this case, Steven L. Bradley, has filed a complaint for a writ of prohibition through which he seeks an order from this court to prevent the respondent, Judge Kenneth R. Stralka, from conducting a show cause hearing in the matter known as City ofIndependence v. Frank Chesney, Garfield Heights Municipal Court Case Nos. 99-CRB-00060 and 99-CRB-00061. The respondent has filed an answer and requests this court to dismiss the complaint and to deny the writ.
In Garfield Heights Municipal Case Nos. 99-CRB-00060 and 99 CRB-00061, the defendant, Frank Chesney, appeared before the respondent and indicated that the relator had been retained as defense counsel. On March 2, 1999, the relator forwarded a letter to the respondent which provided that:
    "I recently received notice that Mr. Chesney is scheduled for trial on March 19, 1999. Please be advised that I do not represent Mr. Chesney in reference to the above-captioned matters. Necessarily, I do not intend to appear on Mr. Chesney's behalf at the scheduled trial date. I have previously represented Mr. Chesney in connection with a pending felony matter; however, I have since been permitted by the Court [Cuyahoga County Court of Common Pleas] to withdraw as counsel of record."
The respondent, however, apparently ignored the relator's letter of March 2, 1999, and through two separate orders, as journalized March 12, 1999, appointed the relator as Frank Chesney's attorney and further ordered that relator appear for trial on March 19, 1999. On March 12, 1999, the relator once again forwarded a letter to the respondent which stated that "* * * I do not represent Mr. Chesney, nor do I intend to represent his interests in your court or any other court. * * *". On March 25, 1999, the respondent, in response to the relator's failure to appear for trial on March 19, 1999, issued an order which provided that relator was to appear at a show cause hearing, on March 31, 1999, to determine whether the relator should be held in contempt of court. On March 31, 1999, the relator filed his complaint for a writ of prohibition in this court in an attempt to prevent the respondent from conducting the show cause hearing.
In order for this court to issue a writ of prohibition, the relator must establish that: 1) the court against whom the writ is sought is about to exercise judicial authority; 2) the exercise of such authority is unauthorized by law; and 3) the denial of the requested writ of prohibition will cause injury to the relator for which there exists no other adequate remedy in the ordinary course of law. State ex rel. Jones v. Garfield Hts.Mun. Court (1997), 77 Ohio St.3d 447; State ex rel. Barclays BankPLC v. Hamilton Cty. Court of Common Pleas (1996), 74 Ohio St.3d 536. In addition, absent a patent and unambiguous lack of jurisdiction, a court having general subject-matter jurisdiction may determine its own jurisdiction and a party challenging the court's jurisdiction possesses an adequate remedy at law through an appeal. State ex rel. Enyart v. O'Neill (1995), 71 Ohio St.3d 655.
A trial court possesses both statutory and inherent powers to punish disobedience of its orders through contempt proceedings. R.C. 2705.02; Zakany v. Zakany (1984), 9 Ohio St.3d 192;State ex rel. Dow Chemical Co. v. Court (1982), 2 Ohio St.3d 119;Harris v. Harris (1979), 58 Ohio St.2d 303;State ex rel. Turner v. Albin (1928), 118 Ohio St. 527. In addition, the respondent's appointment of the relator as counsel on behalf of Frank Chesney arguably subjected the relator to the jurisdiction of the respondent. See State ex rel.Mancino v. Campbell (1993), 66 Ohio St.3d 217, wherein the court held that a trial court possesses jurisdiction to oversee an attorney's representation of a criminal defendant and can impose contempt as a sanction f or failure of an attorney to appear at a scheduled court proceeding.
Here, respondent is authorized by law to conduct a show cause hearing to determine whether the relator should be held in contempt of court for failing to appear as appointed legal counsel for Frank Chesney in Garfield Heights Municipal Court Case Nos. 99-CRB-0060 and 99-CRB-0061. In addition, relator has an adequate remedy at law by way of appeal from any adverse ruling and may also seek a stay of execution of any sanction imposed by the respondent as a result of a finding of contempt, first in the trial court and, if denied, in this court. State exrel. Tollis v. Cuyahoga County Court of Appeals (1988),40 Ohio St.3d 145. Hence, the law provides an adequate legal remedy for improper exercise of judicial authority.
Accordingly, in my view, relator cannot establish that respondent's exercise of judicial authority, through a show cause hearing, is unauthorized by law or that a denial of the requested writ of prohibition will result in injury for which there exists no adequate remedy in the ordinary course of law. For these reasons, I would deny the writ and dismiss the petition at costs.